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                                                                                  ELECTRONICALLY FILED
                                                                               Craighead County Circuit Court In Jonesboro
                                                                                Candace Edwards, Craighead Circuit Clerk
                                                                                     2021-Jul-02 08:33:44
                                                                                        16JCV-21-706
                                                                                      C02O02 : 9 Pages
                                IN THE CIRCUIT COURT OF CRAIGH              , , ~~~·~ ..
                                           WESTERN DISTRICT - CIVIL DIVISION


                     SHON CUNNINGHAM,                                                                PLAINTIFFS
                     ROSE CUNNINGHAM and
                     SRC TRANSPORT, LLC

                     VS.                            CASE NO.: CV-2021-_ _

                     STEVENS TRANSPORT, INC.                                                        DEFENDANTS
                     and JOHN DOE NOS. 1-4


                                                         COMPLAINT


                            COMES NOW Plaintiffs, Shon Cunningham, Rose Cunningham and SRC

                     Transport, LLC, by and through their attorneys, McDaniel Law Firm, PLC, and for their

                     Complaint against Defendants, Stevens Transport, Inc., and John Doe Nos. 1-4 state as

                     follows:

                            1.      That at the time of the occurrence referred to herein, Plaintiff, Shon

                     Cunningham, was and is a resident of Jonesboro, Craighead County, Arkansas.

                           2.       That at the time of the filing of this action, Plaintiff, Rose Cunningham,

                     was and is now the wife of Shon Cunningham, and was and is now a resident of

                     Jonesboro, Craighead County, Arkansas.

                           3.       That SRC Transport, LCC, at the time of the occurrence referred to herein,

                     was and is an Arkansas corporation, in good standing, with its principal place of

McDANIEL             business in Jonesboro, Arkansas.
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                             4.     That at the time of the occurrence referred to herein, Plaintiff Shon

                      Cunningham, was occupying a tractor trailer owned by SRC Transport, LLC.

                             5.     That at all times pertinent hereto, Defendant Stevens Transport, LLC

                      (hereinafter referred to as "Stevens Transport') is/was a foreign for-profit corporation

                      doing business in the State of Arkansas.

                             6.     That Defendant Stevens Transport's headquarters and principal place of

                      business is located in Dallas, Texas.

                             7.     That in addition and/or in the alternative to the above, Defendant John

                      Doe Nos. 1-4, is the official name of any person or entity with which Defendant Stevens

                      Transport and/or Thomas McGrady may be associated (including other principal(s),

                      employer(s), or successor(s)-in-interest).       Further, Defendant John Doe Nos. 3-4

                      represent any shipper, broker, supplier, and/or, as applicable, recipient(s) of the loads

                      being hauled by Mr. Thomas McGrady at the time of the subject occurrence.

                             8.     That upon determining the identity of any current unknown tortfeasor,

                      person or entity, Plaintiffs will amend the Complaint by substituting the real name for

                      the pseudo-name.

                             9.     That pursuant to A.C.A. §16-56-125, Plaintiffs have attached the Affidavit

                      of Plaintiffs' Attorneys affuming the identity of a tortfeasor(s) is unknown, as "Exhibit

                      A."

                             10.    That this Court has jurisdiction over this cause and the parties hereto and
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.AWFIRM,      PLC     the venue of this action is properly placed with this Court.
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                            l 1.   That at the time of the occurrence referred to herein, Mr. Thomas
                             ;

                     McGrady (hereinafter "Mr. McGradyH) was driving a tractor-trailer owned, leased,

                     maintained, and/or operated by or on behalf of Defendant Stevens Transport.

                            12.    That at the time of the occurrence, Mr. McGrady was the agent, servant

                     and/or employee of Defendant Stevens Transport.

                            13.    That the tractor trailer operated by Mr. McGrady involved in this collision

                     was operated under U.S. Department of Transportation ("DOT") #79466.

                            14.    That DOT #79466 is a permit to engage in interstate commercial transport

                     by Defendant Stevens Transport.

                            15.    That on the date of the subject occurrence, March 6, 2021, Mr. McGrady

                     had a Commercial Driver's License ("CDL").

                            16.    That at all times pertinent hereto, Mr. McGrady was a commercial motor

                     vehicle driver subject to the regulations of the United State Department of

                     Transportation (FMCSA) and the State of Arkansas.

                            17.    That at all times pertinent hereto, Mr. McGrady was in the course and

                     scope of his employment and/or agency relationship with Defendant Stevens Transport.

                            18.    That on March 3, 2021, preceding the subject collision, Plaintiff Shon

                     Cunningham parked his tractor trailer at the Road Runner Truck Stop in Texarkana,

                     Arkansas.

                            19.    That the Cunningham vehicle was a 1999 Mack tractor and Great Dane
McDANIEL
AWFIRM,PLC           trailer. Plaintiff was lying down in the sleeper of the cab at the time of the collision.
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                              20.     That at approximately 1: 10 a.m., Mr. McGrady was attempting to back his

                       tractor trailer into an empty parking space at the Road Runner Truck Stop, next to

                       Plaintiff Shon Cunningham's parked tractor trailer, and backed his trailer into the right

                       front of Plaintiff's tractor.

                              21.     That the subject collision and an damages related thereto occurred as a

                       proximate result of the negligent conduct of Mr. McGrady, which is imputed to

                       Defendant Stevens Transport, in particulars including, but not limited to, the following:

                              a.      That Mr. McGrady failed to yield the right of way;

                              b.      That Mr. McGrady failed to maintain a proper lookout under the
                                      circumstances then and there existing;

                              c.      That Mr. McGrady failed to maintain proper control of his vehicle for the
                                      circumstances then and there existing;

                              d.      That Mr. McGrady failed to comply with all rules, regulations, and duties
                                      required by the laws of the State of Arkansas and/or by DOT regulations;
                                      and,

                              e.      That Mr. McGrady failed to use ordinary care under the circumstances
                                      then and there existing.

                              22.     That Defendant Stevens Transport was negligent in particulars including,

                       but not limited to, the following;

                              a.      Negligence in the hiring, training, and supervision of Mr. McGrady;

                              b.      Negligent failure to comply with all rules, regulations, and duties required
                                      by the laws of the State of Arkansas and by DOT regulations; and,·

                              c.      Otherwise failing to exercise ordinary care under the circumstances.
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AWFIRM,PLc                    23.     That Plaintiff Shon Cunningham was not guilty of any comparative fault.
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                              24.    That no other person, firm, company, corporation, or entity of any type,

                       other than those identified herein, was guilty of any negligence which was a proximate

                       and contributing cause of the subject collision and/or Plaintiffs' damages.

                              25.    That the negligence of Mr. McGrady is imputed to Defendant Stevens

                       Transport (an/or John Doe Nos. 1-4) under the doctrine of respondeat superior,

                       vicarious liability, and/or by federal regulations in that he was the driver for Defendant

                       Stevens Transport (and/or John Doe Nos. 1-4) and in the course of scope of his

                       employment or agency relationship with Defendant Stevens Transport.

                              26.    That as a proximate result of the negligence of Mr. McGrady, which is

                       imputed to Defendant Stevens Transport, and the negligence of Defendant Stevens

                       Transport (and/or John Doe Nos. 1-4), Plaintiff, Shon Cunningham, sustained injuries to

                       areas of his body including, but not limited to, his head, neck, back and arm, which

                       required him to incur expenses for medical care and treatment in the past and he will

                       incur medical care and expenses in the future; he has suffered lost earnings and earnings

                       capacity in the past and will continue to suffer lost earnings and/or earnings capacity in

                       the future; he has endured pain, suffering, discomfort, mental anguish and loss of

                       enjoyment of life in the past and will endure pain, suffering, discomfort, mental anguish

                       and loss of enjoyment of life in the future; his injuries are permanent in nature; and for

                       all of which he should have judgment from and against Defendant Stevens Transport

                       (and/or John Doe Nos. 1-4) in an amount in excess of the minimum amount required for
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                       federal court diversity jurisdiction.
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                           27.    That as a proximate result of the negligence of Mr. McGrady, which is

                    imputed to Defendant Stevens Transport, and the negligence of Defendant Stevens

                    Transport (and/or John Doe Nos. 1-4), Plaintiff, Rose Cunningham, spouse of Shon

                    Cunningham, has Jost society, services, and companionship of her husband, Shon

                    Cunningham, and should be compensated against all Defendants in an amount to be set

                    by a jury in an amount less than $75,000.

                           28.    That SRC Transport, LLC, was the owner of the tractor occupied by

                    Plaintiff Shon Cunningham at the time of the occurrence, and has incurred property

                    damage to its tractor, and has lost earnings and earnings capacity in the past as a

                    proximate result of the negligence of Mr. McGrady, which is imputed to Stevens

                    Transport, Inc., and the negligence of Stevens Transport.

                           29.   That Plaintiffs pray for a jury trial in this cause.

                           30.   That Plaintiffs reserve the right to amend and plead further in this action.

                           WHEREFORE, Plaintiff, Shon Cunningham, prays that he have judgment from

                    and against Defendant, Stevens Transport, in an amount in excess of that required for

                    the minimum amount necessary for federal court diversity jurisdiction for compensatory

                    damages; that Plaintiff, Rose Cunningham, be compensated in an amount less than

                    $75,000 to be set by the jury; that Plaintiff, SRC Transport, LLC, be compensated in an

                    amount less than $75,000 to be set by the jury; and, for their costs, and all other relief to

                    which they may be entitled.
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                                                       Respectfully submitted,

                                                       McDANIEL LAW FIRM, PLC
                                                       Attorneys at Law
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                                                       Fax: (870) 932-0919
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                               IN THE CIRCUIT COURT OF CRAIGHEAD COUNTY, ARKANSAS
                                          WESTERN DISTRICT - CIVIL DIVISION


                       SHON CUNNINGHAM,                                                        PLAINTIFFS
                       ROSE CUNNINGHAM
                       and SRC TRANSPORT, LLC

                       VS.                            CASE NO.: CV-2021-_ _

                       STEVENS TRANSPORT, INC.                                                DEFENDANTS
                       and JOHN DOE NOS. 1-4


                                                             AFFIDAVIT


                              I, Bobby McDaniel, attorney for Shon Cunningham, Rose Cunningham, and SRC

                       Transport, LLC, pursuant to Ark. Code Ann C 16-56-125, state that the correct name

                       and identity of the tortfeasor person(s), corporation(s) and entity(ies) are unknown. All

                       due diligent efforts have been made to properly identify the name and identity of the

                       unknown tortfeasor person(s), corporation(s) and entity(ies). If the name and identity of

                       the unknown tortfeasor person(s), corporation(s) and entity(ies) is not one of the

                       specifically named defendants as contained in this complaint, the use of the pseudo-

                       name John and/or Jane Doe as the defendant is appropriate for the purpose of tolling the

                       statute of limitations for these plaintiffs against these unknown defendants.

                       Furthermore, if there is more than one (I) such unknown tortfeasor, the use of John

                       and/or Jane Doe 1, John and/or Jane Doe 2, John and/or Jane Doe 3, etc. is also

McDANIEL               appropriate as set out in the complaint.
AW FIRM,        PLC
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                             DATED this _L day of July, 2021.




                                                              ;obbycDaniel
                                                              Arkansas Bar #72083



                       State of Arkansas

                       County of Craighead

                             Subscribed and sworn to before me on this   2. . day of July, 2021.

                                                                    ~~~
                                                                    ~ary Public

                       My Commission Expires




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                                      NolaryN,llc
                               Craighead County, Mansu
                             My comm. Expires Sept 21, 2029
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